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                 IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF FLORIDA


IN THE MATTER OF:                               CASE NO. 19-10847-AJC

TEOFILO R. SOLIZ                                CHAPTER 13

      Debtor,
________________________________/



     NOTICE OF COMPLIANCE BY ATTORNEY FOR DEBTOR WITH LOCAL
                                RULE
                      2083-1(B) CLAIMS REVIEW
                           REQUIREMENT

       The undersigned attorney for debtor certifies that a review of the claims register
and all claims filed in the above referenced case has been completed in accordance
with Local Rule 2083-1(B) and that:

1)           No further action is necessary.

2)    The following actions have been taken:

            The debtor has filed objections to the proof of claims filed by
      Ditech Financial, LLC 10-1, LVNV Funding, LLC c/o Resurgent Capital
      Services 3-1,CACH, LLC c/o Resurgent Capital Services 4-1, & Portfolio
      Recovery Associates, LLC 9-1.


             The debtor has filed a            amended plan or modified plan to
             provide for the proof of claim filed by
                                               .

             Other:

                                                   .

       A copy of this certificate of compliance was served on the chapter 13 trustee
via the NEF and the debtor via U.S. Mail on January 24, 2020.
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